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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                               No. CR 10-1361 JB

JARIN P. SCOTT,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Sentencing Memorandum, filed

March 3, 2011 (Doc. 65). The Court held a hearing on March 8, 2011. The primary issue is whether

the Court should accept the parties’ plea agreement, which stipulates to a sentence of 36 months.

The Court sentences Defendant Jarin P. Scott to 36 months incarceration.

       The United States Probation Office (“USPO”) disclosed a Presentence Investigation Report

(“PSR”) for Scott on February 10, 2011. In the PSR, the USPO calculated Garner’s offense level

to be 16 and his criminal history category to be I, establishing a guideline imprisonment range of

21 to 27 months. There being no objection to the factual findings and sentencing calculations in the

PSR, the Court adopts them as its own. Pursuant to rule 11(c)(1)(C) of the Federal Rules of

Criminal Procedure, the Court accepts the plea agreement, which stipulates to a 36-month sentence,

as the Court is satisfied that the agreed offense level departs for justifiable reasons.

       In the plea agreement, the parties agreed to a 36-month sentence in exchange for Plaintiff

United States of America’s dismissal of the charges under 18 U.S.C. § 924(c)(1)(A) for using a

firearm in relation to a crime of violence. At the hearing, the Court asked the parties how Scott
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avoids the minimum sentence under 18 U.S.C. § 924. The United States responded that 18 U.S.C.

§ 924 was a separate count that it was dismissing. The parties agreed that the Court should sentence

Scott in accordance with the plea agreement, and the United States would follow up with the Court

with additional authority supporting its position that 18 U.S.C. § 924 is a separate charge, and not

a sentencing enhancement.

       On March 15, 2011, the United States submitted a letter to the Court. See Letter from Paula

Burnett to Judge James Browning (dated March 15, 2011), filed March 15, 2011 (Doc. 77). The

United States wrote in response to the Court’s request for authority in support of its position that

18 U.S.C. § 924(c) sets forth a distinct and separate offense, as opposed to a penalty enhancement.

Section 924 of Title 18 is titled “Penalties.” The section provides:

       Except to the extent that a greater minimum sentence is otherwise provided by this
       subsection or by any other provision of law, any person who, during and in relation
       to any crime of violence or drug trafficking crime (including a crime of violence or
       drug trafficking crime that provides for an enhanced punishment if committed by the
       use of a deadly or dangerous weapon or device) for which the person may be
       prosecuted in a court of the United States, uses or carries a firearm, or who, in
       furtherance of any such crime, possesses a firearm, shall, in addition to the
       punishment provided for such crime of violence or drug trafficking crime

               (i) be sentenced to a term of imprisonment of not less than 5 years;

               (ii) if the firearm is brandished, be sentenced to a term of imprisonment of
               not less than 7 years; and

               (iii) if the firearm is discharged, be sentenced to a term of imprisonment of
               not less than 10 years.

18 U.S.C. § 924(c)(1)(A). The United States directs the Court to United States v. Hill, 971 F.2d

1461 (10th Cir. 1992)(en banc). In United States v. Hill, the Tenth Circuit stated:

               At first glance, § 924(c)(1) appears to be a penalty enhancement statute.
       Section 924 is entitled “Penalties,” and its remaining subsections set forth penalties
       for firearms offenses. Section 924(c)(1) provides that its penalty is “in addition to
       the punishment” provided by the underlying crime, and a conviction under

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       § 924(c)(1) requires proof that the defendant committed the underlying crime of
       violence or drug trafficking crime. United States v. Munoz-Fabela, 896 F.2d 908,
       910 (5th Cir.), cert. denied, 498 U.S. 824 . . . (1990); United States v. Hunter, 887
       F.2d 1001, 1003 (9th Cir. 1989) (per curiam), cert. denied, 493 U.S. 1090 . . . (1990).
       See also H.R. Rep. No. 495, 99th Cong., 2d Sess. 10, reprinted in 1986 U.S.C.C.A.N.
       1327, 1335 (construing earlier version of § 924(c) as requiring “proof of the
       defendant's commission of the [underlying] crime”). Indeed, § 924(c) has been
       characterized as a “enhancement” statute. See Busic v. United States, 446 U.S. 398,
       405 . . . (1980) (characterizing earlier version of § 924(c) as an “enhancement
       scheme”); Eckert v. Tansy, 936 F.2d 444, 449 (9th Cir. 1991) (citing § 924(c) as
       example of “weapons enhancement scheme”); United States v. Henning, 906 F.2d
       1392, 1399 (10th Cir. 1990) (“924(c) is an enhancement statute”), cert. denied, 498
       U.S. 1069 . . . (1991); United States v. Sherbondy, 865 F.2d 996, 1010 n.18 (9th Cir.
       1988) (“924(c) . . . is a sentence enhancement provision”).

               Nevertheless, we recently stated that “section 924(c) creates distinct offenses
       rather than being merely a sentencing enhancement provision.” United States v.
       Abreu, 962 F.2d 1447, 1451 (10th Cir.1992) (en banc) (citations omitted)
       (distinguishing conflicting authority and applying principles of lenity and strict
       construction based on distinction) . . . . See also Simpson v. United States, 435 U.S.
       6, 10 . . . (1978) (“[§ 924(c) is] an offense distinct from the underlying federal
       felony”); United States v. Martinez, 924 F.2d 209, 211 n.2 (11th Cir.) (per curiam)
       (“924(c)(1) creates a separate offense and separate sentence”), cert. denied, 502 U.S.
       870 . . . (1991); Munoz-Fabela, 896 F.2d at 910 (“[924(c)(1) ] constitutes an
       independent basis for criminal liability”); Hunter, 887 F.2d at 1003 (“924(c)(1)
       defines a separate crime rather than merely enhancing the punishment for other
       crimes”). This interpretation finds support in the statutory language which provides
       that the underlying offense need only be one for which the defendant “may be
       prosecuted in a court of the United States,” and provides for a greater sentence for
       a “second or subsequent conviction under this subsection.” 18 U.S.C. § 924(c)(1)
       (emphasis added).

971 F.2d at 1463-64. The Tenth Circuit held: “We believe that our recent characterization in Abreu

of § 924(c) as a ‘distinct’ offense rather than ‘merely a sentencing enhancement provision’ is a

correct interpretation of the statute.” 971 F.2d at 1464. Accordingly, “a conviction and sentence

under § 924(c) requires the full panoply of constitutional safeguards ordinarily granted criminal

defendants.” 971 F.2d at 1464. The Court agrees, therefore, that § 924(c) is “a ‘distinct’ offense

rather than ‘merely a sentencing enhancement provision’ is a correct interpretation of the statute.”

971 F.2d at 1464.

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       The Court notes Scott fired two shots from a Remington model 382, 12 gauge shotgun at the

apartment number 222 of the Chaco River Apartments in Shiprock, New Mexico, and within the

exterior boundaries of the Navajo Nation Indian reservation. Jefferson Nez, Kristin Banally,

Michael Walker, and three juveniles were inside the apartment at the time Scott fired the shots. The

Court sentences Scott to 36 months in the Bureau of Prisons’ custody. The Court has considered

carefully the parties’ arguments and the circumstances of this case. The Court has considered the

guidelines, but, in arriving at its sentence, has taken into account not only the guidelines but other

sentencing goals. Specifically, the Court has considered the guideline range for the applicable

category of offense committed by the applicable category of defendant. The Court believes that the

punishment that the guidelines set forth is not appropriate for Scott’s offense. The Court finds that

a 36-month sentence adequately reflects the seriousness of the offense, promotes respect for the law,

provides just punishment, affords adequate deterrence, protects the public, and otherwise fully

reflects each of the factors embodied in 18 U.S.C. § 3553(a). While the Court’s task, as a district

court, is not to arrive at a reasonable sentence -- it is to come up with one that reflects the

factors in 18 U.S.C. § 3553(a), see United States v. Conlan, 500 F.3d 1167, 1169

(10th Cir. 2007)(“[A] district court’s job is not to impose a reasonable sentence. Rather, a district

court’s mandate is to impose a sentence sufficient, but not greater than necessary, to comply with

the purposes of section 3553(a)(2).”)(citation omitted) -- the Court believes this sentence is

reasonable, and more reasonable than the one the guidelines recommended. Finally, the Court

believes that the 36-month sentence adequately reflects Scott’s criminal history, and that this

sentence is sufficient without being greater than necessary to comply with the purposes of

punishment Congress set forth in the Sentencing Reform Act. Scott shall be on supervise release

for a term of three years following his incarceration.

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       IT IS ORDERED that the Defendant’s Sentencing Memorandum, filed March 3, 2011 (Doc.

65) is granted, and the Court sentences Defendant Jarin P. Scott to 36 months incarceration.



                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE

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